                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                         CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,                             No. 24-CR-70 CJW-MAR
                Plaintiff,
 vs.                                 ORDER REGARDING MAGISTRATE
                                           JUDGE’S REPORT AND
 SHANE ROBERT MCDOWELL,                     RECOMMENDATION
                                       CONCERNING DEFENDANT’S
           Defendant.
                                               GUILTY PLEA
                      __________________________

                   I.        INTRODUCTION AND BACKGROUND
       On August 21, 2024, a two-count Indictment was filed against defendant. On
March 14, 2025, defendant appeared before United States Magistrate Judge Mark A.
Roberts and entered a conditional plea of guilty to count one of the Indictment. On
March 14, 2025, Judge Roberts filed a Report and Recommendation (“R&R”) in which
he recommended defendant’s guilty plea be accepted. The parties did not file objections
to Judge Roberts’ R&R. The Court, therefore, undertakes the necessary review of Judge
Roberts’ recommendation to accept defendant’s plea in this case.
                                   II.     ANALYSIS
       Under the statute, this Court’s standard of review for a magistrate judge’s R&R is
as follows:
       A judge of the court shall make a de novo determination of those portions
       of the report or specified proposed findings or recommendations to which
       objection is made. A judge of the court may accept, reject, or modify, in
       whole or in part, the findings or recommendations made by the magistrate
       judge.

28 U.S.C. § 636(b)(1)(C).
       When parties do not object to a magistrate judge’s report and recommendation,
the Court reviews the report and recommendation for clear error.           28 U.S.C. §
636(b)(1)(A). Similarly, Federal Rule of Criminal Procedure 59(b) provides for review

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of a magistrate judge’s R&R on dispositive motions, where objections are made, as
follows:
       The district judge must consider de novo any objection to the magistrate
       judge’s recommendation. The district judge may accept, reject, or modify
       the recommendation, receive further evidence, or resubmit the matter to the
       magistrate judge with instructions.

FED. R. CRIM. P. 59(b)(3).1
       In this case, the parties filed no objections, and it appears to the Court upon review
that Judge Roberts’ findings and conclusions are not clearly erroneous. Therefore, the
Court ACCEPTS Judge Roberts’ R&R of March 14, 2025, and ACCEPTS defendant’s
conditional plea of guilty in this case to count one of the Indictment.
       IT IS SO ORDERED this 31st day of March, 2025.



                                          _________________________
                                          C.J. Williams, Chief Judge
                                          United States District Court
                                          Northern District of Iowa




1
   United States v. Cortez-Hernandez, 673 F. App’x 587, 590-91 (8th Cir. 2016) (per curiam),
suggests that a defendant may have the right to de novo review of a magistrate judge’s
recommendation to accept a plea of guilty even if no objection is filed.



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